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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x

UNITED STATES OF AMERICA,                                            23-Cr-490 (SHS)

                 -v-

ROBERT MENENDEZ, NADINE MENENDEZ,                                    ORDER
WAEL HANA, and FRED DAIBES,

                                   Defendants.
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SIDNEY H. STEIN, U.S. District Judge.

       Defendants shall file their oppositions, if any, to the government's Motion in Limine to
Preclude Certain Proffered Expert Testimony [Doc. No. 367] on or before Tuesday, May 7, 2024.


Dated: New York, New York
       May 3, 2024

                                                     SO ORDERED:
